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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF OKLAHOMA


UNITED STATES OF AMERICA,

                      Plaintiff,

v.                                                    Case No. 22-CR-115-CVE

JOHNNY WESLEY SPARKS,
a/k/a “J5,”

                      Defendant.


                                   Motion for Detention

     The United States moves for pretrial detention of Defendant, pursuant to 18
U.S.C. § 3142(e) and (f).


     1. Eligibility of Case. This case is eligible for a detention order because this case
involves a (check all that apply):
     ☐ Crime of violence (18 U.S.C. § 3156).
     ☐ Crime of Terrorism (18 U.S.C. § 2332b (g)(5)(B)) with a maximum sentence of
       ten years or more.
     ☐ Crime with a maximum sentence of life imprisonment or death.
     ☒ Drug offense with a maximum sentence of ten years or more.
     ☐ Felony offense and Defendant has two prior convictions in the four categories
       listed above, or two State convictions that would otherwise fall within those
       four categories if federal jurisdiction had existed.
     ☐ Felony offense involving a minor victim other than a crime of violence.
     ☐ Felony offense, other than a crime of violence, involving possession or use of a
       firearm, destructive device (as those terms are defined in 18 U.S.C. § 921), or
       any other dangerous weapon.
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   ☐ Felony offense other than a crime of violence that involves a failure to register
     as a Sex Offender (18 U.S.C. § 2250).
   ☒ Serious risk Defendant will flee.
   ☐ Serious risk of obstruction of justice, including intimidation of a prospective
     witness or juror.

   2. Reason for Detention. The Court should detain Defendant because there are
no conditions of release which will reasonably assure (check one or both):
   ☒ Defendant's appearance as required.
   ☒ Safety of any other person and the community.

   3. Rebuttable Presumption. The United States will invoke the rebuttable
presumption against Defendant under § 3142(e). The presumption applies because
there is (check all that apply):
   ☐ Probable cause to believe defendant committed offense within five years of
     release following conviction for a qualifying offense committed while on
     pretrial release.
   ☒ Probable cause to believe Defendant committed drug offense with a maximum
     sentence of ten years or more.
   ☐ Probable cause to believe Defendant committed a violation of one of the
     following offenses: 18 U.S.C. §§ 924(c), 956 (conspiracy to murder or kidnap),
     2332b (act of terrorism), or 2332b(g)(5)(B) (crime of terrorism).
   ☐ Probable cause to believe defendant committed an offense involving a victim
     under the age of 18 under 18 U.S.C. §§ 1591, 2241, 2242, 2244(a)(1), 2245,
     2251, 2251A, 2252(a)(1) through 2252(a)(3), 2252A(a)(1) through
     2252A(a)(4), 2260, 2421, 2422, 2423, or 2425.




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   Dated this 29th day of August, 2022.


                                      Respectfully submitted,
                                      CLINTON J. JOHNSON
                                      United States Attorney


                                       /s/ David A. Nasar ______________
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